Case 1:08-cV-21924-ASG Document 1 Entered on FLSD Docl<et 07/08/2008 Page 1 of 7

UN|TED STATE D|STR|CT COURT
SOUTHERN D|STR|CT OF FLORIDA

GENERAL D|V|S|ON

cAsENo. 98 " 21 924
MAGlsTRAT JuDGE ;CIV _ GGLD

MERCEDES CORTES., on behalf of lM¢ALILEYl
herself and all others similarly situated,
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VS- O"§:' rC-; `<
;",F::if '
HlS HOUSE, lNC. a F|orida ;;-;’,;,M m
Corporation, j m §
I.`*§{j ___
Defendant >g§; ';-)
/__ m w f;v

 

COMPLA|NT

1. Plaintiff, MERCEDES CORTES, (hereinafter referred to as “P|aintift”), is a
former employee of Defendant HlS HOUSE, lNC. (hereinafter referred to as “Defendant”)

and brings this action on behalf of herself and all other employees and former employees
of Defendant similarly situated to her for compensation and other relief under the Fair

Labor Standards Act, as amended, 29 U.S.C. § 216 (b). Plaintiff is a citizen and resident

of Dade County, F|orida within the jurisdiction of this honorable Court.
is a F|orida Corporation, and within the

2. Defendant, HlS HOUSE, lNC..

jurisdiction of this Court.
This action is brought to recover from Defendant unpaid wages and unpaid

3.
minimum wage compensation, liquidated damages, and costs and reasonable attorney’s

fees under the provision of Title 29 U.S.C. § 201 e_t Yg., and specifically under the

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provisions of Title 29 U.S.C. § 216(b) (the “Act”).

4. Jurisdiction is conferred on this Court by Title 28 U.S.C. § 1337 and by Title
29 U.S.C. § 216(b). Defendant is, and at all times pertinent to this Complaint was,
engaged in interstate commerce. At all times pertinent to this Complaint Defendant
regularly operated a school at which Plaintiff was empoyed as a teacher and utilized
goods which moved in interstate commerce. Based upon information and belief the annual
gross sales volume of Defendants was in excess of $500,000.00 per annum.

5. By reason of the foregoing, Defendant was during all times hereafter
mentioned an enterprise engaged in commerce or in the production of goods for commerce
as defined in §§ 3(r) and 3(s) of the Act, 29 U.S.C. § 203(r) and 203(s).

6. The additional persons who may become Plaintiffs in this action are teachers
employed by Defendant who are or who were subject to the payroll practices and
procedures described in Paragraph 10 below during one or more work weeks beginning
on or after July 1, 2005.

7. At all times pertinent to this Complaint Defendant failed to comply with Title
29 U.S.C. §§ 201-219 and DOL Regulation 29 C.F.R. §§ 516.2 and 516.4 in that Plaintiff
and those similarly situated to Plaintiff performed services for Defendants for which no
provision was made by the Defendant to properly pay Plaintiff for those hours.

8. Plaintiff was hired by Defendant during 2008, as a teacher. By reason of
such employment, Plaintiff was employed during such period by an enterprise engaged in
commerce within the meaning of 29 U.S.C. §§ 206(a) and 207(a). Further, Plaintiff herself
was engaged in commerce. The work performed by Plaintiff was directly essential to the
operations of Defendant, in interstate commerce, which was directly essential to the

business performed by Defendant.

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9. Plaintiff’s employment with Defendants provided for compensation at the rate
of $90.00 per day.

10. ln the course of employment with Defendants, Plaintiff and other similarly
situated employees worked the number of hours required of them but were paid the
minimum wage for all such hours worked. ln fact, Plaintiff was not paid anything for her
final period of employment Plaintiff and those similarly situated to her were not paid for
the Enal pay period of their employment during one or more work weeks beginning on or
after July 1, 2005.

11. The records, if any, concerning the number of hours actually worked by
Plaintiff and all other similarly situated employees and the compensation actually paid to
such employees are in the possession and custody and control of Defendant,

COUNTI

RECOVERY OF MlN|MUM WAGE COMPENSAT|ON
HlS HOUSE lNC.

 

Plaintiff readopts and realleges and allegations contained in Paragraphs 1
through 11 above.

12. Plaintiff is entitled to be paid the minimum wage for all hours worked. A|l
similarly situated employees are similarly entitled to be paid the minimum wage for all
hours worked.

13. By reason of the said intentional, willful and unlawful acts of HlS HOUSE,
lNC. all Plaintiffs (Plaintiff and those similarly situated to her) have suffered
damages plus incurring costs and reasonable attorney’s fees.

14. As a result of HlS HOUSE, lNC’S. willful violation of the Act, all Plaintiffs
(Plaintiff and those similarly situated to her are entitled to liquidated damages in an equal

amount to that set forth in Paragraph 13 above.

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15. Plaintiff demands trial by jury.

WHEREFORE, for work weeks beginning on or after July 1, 2005, Plaintiff
and those similarly situated to her who have or will opt into this action , demand judgement
against Defendant HlS HOUSE, lNC. for the minimum wage payments due them for the
hours worked by them for which they have not been properly compensated, liquidated
damages and reasonable attorney’s fees and costs of suit, and for all proper relief

including prejudgment interest.

DATED TH|S§Ey Of Junel 2008.

Respectful|y submitted,

LAW OFFlCES OF DONALD J. JARET, P.A.
Counse| for Plaintiff
2697 Botticelli Dr.
Henderson, Nv. 89052

  
  

 

  
 

AL .
Florida ar No.296163

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NOT|CE OFC N E T

The undersigned, l§ljé,y_`cgdgg, §Qc;b£§ , hereby oonsents,_

pursuant to 29 U.S.C. § 216(b). to become a party plaintiff in this action and to be
represented by DONALD J. JARET. PA.

DATED TH\S of January, 2004.

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Notice is hereb iven that DONALD J. JARET, PA. and . _
(hereinafter referred zones “ Client") have entemd into a contract wt‘ijitt:hhatc::‘ls got the
payment of awniey’s fees and costs out of the recovery in this action an athttemptney`S
by Client, to settle, resolve, or waive the right of DONALD .l. JARET, P.A. to r
fees and costs is ineffective and unenforceable

` ` r ivan that C|ient has assigned to DONAL_D J. JARET, PA. all right,
title an:?rt:terestce s f\'c]ollwre‘ai:t‘),ver attorney’s fees and costs in this action pumuanr;t`: azgdua.;gt
§216(b). As part of such assig` nment Client has expressly agreed to mpa_ tm en n Based
DONALD J. JARET, P.A. in recovean all attomey's fees and costs in nds a owi.th agent
on such agreement any attempt to resolve the issue of attorney s fees a costs

shall be ineffective and of no force and effect

 

 

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vw @ae@s)l:os-cv-zlez¢i-ASG Doc€i¥iétit C(BMBMEEESLSD Docket 07/03/2008 Page 7 of 7

The JS 44 civil cover sheet and the information contained herein neither r lace nor sugpleme_nt the filing and service of pleadin or other apers as uired by law, except as provided
by local rules of oourt. This form, approved by the Judicial Conferenoe 0 the United dates in Seotember 1974. is required for c use of e Clerk of ourt for the purpose of initiating
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the civil docket sheet (sEE iNsTitucnoNs oN THE REvERsE oF ma FoRM.) NOTICE: Attorneys MUST Indi te filed l
1. (a) PLAlNTIFFS DEFENDANTS
MERCEDES CORTES ON BEHALF OF HERSELF AND ALL HlS HOUSE, INC, IV GOI. D
OTHERS SIMILARLY SITUATED C ' J
(b) county of residence ufFirst Listed Piaintiff DADE county or residence ofFirst Listed Defendant DADE l MCALILEY}
(Excizi’r iN u.s. PLAiNriFF cAsEs) (iN u.s. PLAiNTii-'F cAsEs oNLY)
(e) Attomey’s mm Nam¢, Adnress, and Tei¢ph.m¢ N.m,i,er) NoTE: iN LAND coNDEMNATioN cAsi=.s, usi~: THE LocAnoN oF THE 'rRAcT
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DONALD JARET, P.A.
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HENDERSON, NV 89052 '/i"
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(For Diversi`ty Cases Only) and One Box for Defendant)

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